                 Case 21-20687              Doc 21           Filed 07/18/21               Entered 07/18/21 09:03:40                     Page 1 of 2


       Fill in this information to Identify the case:

    Debtor Name: The Norwich Roman Catholic Diocesan Corporation
                                                                                                                                              Check if this is an
    United States Bankruptcy Court for the:             District of Connecticut
                                                                                                                                              amended filing
    Case Number (If known):          21-20687




  Official Form 204
  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
  Unsecured Claims and Are Not Insiders                                                                                                                         12/15
  A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
  disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
  secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
  largest unsecured claims.


   Name of creditor and complete mailing        Name, telephone number,       Nature of the claim   Indicate if     Amount of unsecured claim
   address, including zip code                  and email address of          (for example, trade   claim is        If the claim is fully unsecured, fill in only unsecured
                                                creditor contact              debts, bank loans,    contingent,     claim amount. If claim is partially secured, fill in total
                                                                              professional          unliquidated,   claim amount and deduction for value of collateral or
                                                                              services, and         or disputed     setoff to calculate unsecured claim.
                                                                              government
                                                                              contracts)
                                                                                                                    Total claim, if        Deduction for      Unsecured claim
                                                                                                                    partially secured      value of
                                                                                                                                           collateral or
                                                                                                                                           setoff

   1       LITIGATION PARTIES 1-51              PHONE: 860-231-7766               LITIGATION             CUD                                                           UNKNOWN
           PATRICK TOMASIEWICZ, ESQ.            7766
           FAZZANO & TOMASIEWICZ, LLC           PT@FTLAWCT.COM
           96 OAK STREET
           HARTFORD, CT 06106
   2       LITIGATION PARTIES 52-55             PHONE: 860-442-0444               LITIGATION             CUD                                                           UNKNOWN
           KELLY E. REARDON, ESQ                KREARDON@REARDONLAW.
           THE REARDON LAW FIRM, P.C.           COM
           160 HEMPSTEAD ST
           NEW LONDON, CT 06320
   3       LITIGATION PARTY 56                  PHONE: 203-439-7717               LITIGATION             CUD                                                           UNKNOWN
           FRANK C. BARTLETT, JR                FRANK@BARTLETTLEGALGR
           BARTLETT LEGAL GROUP LLC             OUP.COM
           36 WALLINGFORD ROAD
           CHESHIRE, CT 06410
   4       PEOPLES UNITED BANK, N.A.            PHONE: 860-280-2656               LINE OF CREDIT          C                                                          $276,543.00
           PETER LINEHAN                        PETER.LINEHAN@PEOPLES.C
           225 ASYLUM STREET                    OM
           HARTFORD, CT 06103
   5       CATHOLIC UMBRELLA POOL               PHONE: 402-551-8765               TRADE                                                                                $19,890.50
           C/O CATHOLIC MUTUAL RELIEF
           SOCIETY
           10843 OLD MILL ROAD
           OMAHA, NE 68154-2600
   6       THE HARTFORD COURANT, LLC            PHONE: 860-525-5555               TRADE                                                                                 $2,564.85
           285 BROAD ST                         AJULIEN@COURANT.COM
           HARTFORD, CT 06457
   7       RAD COMPUTING                        PHONE: 860-454-7700               TRADE                                                                                 $2,543.00
           281 HARTFORD TURNPIKE UNIT 201       INFO@RADCOMPUTING.CO
           VERNON, CT 06066                     M




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                                                                      services, and         or disputed     setoff to calculate unsecured claim.
                                                                      government
                                                                      contracts)
                                                                                                            Total claim, if        Deduction for      Unsecured claim
                                                                                                            partially secured      value of
                                                                                                                                   collateral or
                                                                                                                                   setoff

   8    WILI & WILI FM                       PHONE: 860-887-3511      TRADE                                                                                     $1,279.00
        40 CUPRAK ROAD                       ARUSSELL@HALLRADIO.NET
        NORWICH, CT 06360
   9    COMCAST                              PHONE: 215-286-4850    TRADE                                                                                         $659.77
        1701 JFK BOULEVARD                   DANIEL_CARR2@CABLE.COM
        PHILADELPHIA, PA 19103               CAST.COM
   10   W.B. MASON COMPANY, INC              PHONE: 888-926-2766      TRADE                                                                                       $381.80
        43 STOTT AVENUE                      CUSTOMERSUPPORT@WBM
        NORWICH, CR 06360                    ASON.COM




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